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                                   DECLARATION OF AILEEN GONZALEZ

             I, Aileen Gonzalez, the undersigned, hereby make this sworn declaration under penalty of

   perjury and state as follows:

             1.     My name is Aileen Gonzalez.

             2.     I am over eighteen (18) years of age and am otherwise competent to make this

   declaration.

             3.     I make this declaration based upon the best of my knowledge, information, or

   belief.

             4.



             5.     I worked alongside Hazel, Akari, and Ellen at MMI 82, LLC, also known as Casa

   Morada.

             6.

   changed to a Front Desk Agent after some time. After working as a Front Desk Agent, the then-

                                      d I assumed the role of GM prior to formally obtaining the GM

   title.

             7.     I was regularly asked to work late, and for a 2 3-month period of my employment

   my shift was from 7:00 A.M. until 11:00 P.M because Oneil did not want to hire additional

   employees. At certain points, I was required to sleep at Casa Morada to be able to complete all of

   my assigned tasks. During this time, I informed Oneil that I was beginning to feel sick and unwell,

   and Oneil responded that I should take a walk around Casa Morada.

             8.     At one point during the Covid-era (in or around 2021), Oneil failed to transfer

   money into the Casa Morada bank account, so my colleague and I had to purchase hotel-items on
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   our personal credit cards . When my colleague complained about this, Oneil told her she was acting

   like a child.

           9.      At no point throughout the duration of my employment for Casa Morada did I

   receive any training in relation to sexual harassment, discrimination, or retaliation.

           10.     At no point throughout the duration of my employment for Casa Morada I did train

   any employees that I supervised with regards to sexual harassment, discrimination, or retaliation.

           11.

                                                                                 to me and Oneil about

   her new company.

           12.     Oneil was aware that I wrote checks to The Hospitality Hub for third-party services

   provided to Casa Morada. I sent Oneil a list of who needed to be paid, how much money was going

   to the individual or entity, and what they were being paid for, and Oneil told me who I could issue

   a check to from Casa Morada      MMI 82, LLC bank account. Oneil was undoubtedly aware that I

   issued checks to The Hospitality Hub.

           13.     The Hospitality Hub assisted Casa Morada in booking new guests and providing

   guests with accommodations during their visit.

           14.     Oniel gave me permission to issue checks to The Hospitality Hub for services they

   provided, and I personally signed checks to The Hospitality Hub.

           15.     I issued checks from the Casa Morada       MMI 82, LLC bank account, that Oneil

   deposited money into.

           16.     On many occasions, Hazel and Akari informed me that their paychecks would

   bounce. This happened with many other employees for Casa Morada during my tenure with Casa
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   Morada. I informed Oneil that the checks were bouncing, but he would still ask me to issue checks

   before he deposited more money into the necessary accounts.

             17.

   Hazel overtime wages, but that any hour Hazel worked over 40 would result in additional paid-

   time-off for Hazel. This was done because Oneil did not like to pay overtime wages. For example,

   two former colleagues of mine, Victor and Julio, worked a 96-hour work week and were only paid

   non-overtime rates. Oneil then changed Julio to salary.

             18.     Hazel was given a company laptop to perform work at her home so she could access

   the reservation system to help guests, even if away from the Casa Morada property. I gave Hazel

   the laptop to take home, she did not steal it. I made sure that there was nothing on the laptop that

   Hazel could delete. The only thing on the laptop was access to the reservation system.

             19.

                                             all of the employees hours and documented these hours on

   a spreadsheet, which was done on a Casa Morada computer. I informed Oneil where the

   spreadsheets that contained the employee hours were and how to access them.

             20.     Oneil required me to organize payroll records for Casa Morada and another one of

   his properties.

             21.

   ended, Akari called me and complained about Ellen making a racist comment to him. I cannot

   remember exactly what was said on this phone call, but I do remember Akari complaining about

   racism.

             22.     Oneil fails to take accountability for his actions or for Casa Morada, and routinely

   throws his employees under the bus when things go wrong.
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          23.    I quit my position from Casa Morada because of the hostile work environment

   there, which caused me tremendous stress and pressure.

          24.    On one occasion, Oneil told me to come into work, although I was on approved

   vacation-leave, to help a guest. I spent hours crying in my car before going into work because I



          25.    Oneil never trained me to be a GM, never trained me to maintain timesheets, and

   did not provide me with the adequate help or assistance needed to maintain Casa Morada.

          26.    I am currently in t

   employed by Casa Morada.

          27.    To my knowledge, the General Managers before me and after me both had mental

   breakdowns due to their employment with Casa Morada.



                       VERIFICATION PURSUANT TO 28 U.S.C. § 1746

          I, Aileen Gonzalez, declare under penalty of perjury that the foregoing is true and correct.

          Executed on ________________                  ____________________________________
                                                        AILEEN GONZALEZ
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